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                                                               5 Attorneys for Defendants, KERI CAVALLO;
                                                                 MARK O’BRIEN; COAST HOSPITALIST
                                                               6 MEDICAL ASSOCIATES, INC.; and
                                                                 COAST CORRECTIONAL MEDICAL
                                                               7 GROUP

                                                               8                 IN THE UNITED STATES DISTRICT COURT
                                                               9             FOR THE SOUTHERN DISTRICT OF CALIFORNIA
                                                              10

                                                              11   ESTATE OF PAUL SILVA by and        )   Case No. 18-cv-02282-L-MSB
LOTZ, DOGGETT & RAWERS LLP




                                                                   through its successors-in-interest )
                                                              12   LESLIE ALLEN and MANUEL SILVA, )       NOTICE OF APPEARANCE
                             101 WEST BROADWAY, SUITE 1110




                                                                   MANUEL SILVA AND LESLIE            )
                               SAN DIEGO, CALIFORNIA 92101




                                                                   ALLEN,                             )
                                 TELEPHONE: (619) 233-5565




                                                              13
                                                                                                      )   Judge: Hon. James M. Lorenz
                                                              14                Plaintiff,            )   Magistrate Judge: Hon. Michael S. Berg
                                                                                                      )
                                                              15         v.                           )
                                                                                                      )
                                                              16   CITY OF SAN DIEGO; SHELLY          )
                                                                   ZIMMERMAN in her individual        )
                                                              17   capacity; ANDREW MURROW;           )
                                                                   THOMAS DERISIO; LOUIS MAGGI; )
                                                              18   COUNTY OF SAN DIEGO, WILLIAM )
                                                                   GORE, in his individual capacity;  )
                                                              19   BARBARA LEE, in her individual     )
                                                                   capacity; ALFRED JOSHUA, in his    )
                                                              20   individual capacity; ANTHONY       )
                                                                   ADRANEDA; KERI CAVALLO;            )
                                                              21   MARK O’BRIEN; LAURA COYNE; )
                                                                   MICHAEL LAWSON; JOHN               )
                                                              22   DOUTHITT; JULIO RODRIGUEZ;         )
                                                                   CHARLES DELACRUZ. DIEGO            )
                                                              23   LOPEZ; AARON VRABEL; JORGE         )
                                                                   ENCISO; TANNER SHERMAN;            )
                                                              24   CHRISTOPHER SIMMS, RYAN            )
                                                                   SEABORN, HARVEY SEELEY;            )
                                                              25   CESAR CEBALLOS; SGT.               )
                                                                   NAVARRO; TRI-CITY MEDICAL          )
                                                              26   CENTER; COAST HOSPITALIST          )
                                                                   MEDICAL ASSOCIATES, INC.;          )
                                                              27   COAST CORRECTIONAL MEDICAL )
                                                                   GROUP; and DOES 24-100             )
                                                              28                                      )
                                                             Case 3:18-cv-02282-L-MSB Document 103 Filed 01/21/20 PageID.1575 Page 2 of 3



                                                               1         TO THE CLERK OF COURT, ALL PARTIES, AND THEIR ATTORNEYS OF
                                                               2   RECORD:
                                                               3         PLEASE TAKE NOTICE THAT Brian T. Bloodworth, Esq., of the law firm of
                                                               4   Lotz, Doggett & Rawers, LLP, hereby appears as counsel for Defendants KERI
                                                               5   CAVALLO; MARK O’BRIEN; COAST HOSPITALIST MEDICAL ASSOCIATES,
                                                               6   INC.; and COAST CORRECTIONAL MEDICAL GROUP.
                                                               7         Please add Mr. Bloodworth to all service lists in this matter at the following
                                                               8   address:
                                                               9         Brian T. Bloodworth, Esq.
                                                                         LOTZ, DOGGETT & RAWERS, LLP
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                                                                         San Diego, CA 92101
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                               SAN DIEGO, CALIFORNIA 92101




                                                                         Mr. Bloodworth is admitted and authorized to practice in this court in
                                 TELEPHONE: (619) 233-5565




                                                              13

                                                              14   accordance with Local Rule 83.3. Other counsel of record for Defendants, KERI
                                                              15   CAVALLO; MARK O’BRIEN; COAST HOSPITALIST MEDICAL ASSOCIATES,
                                                              16   INC.; and COAST CORRECTIONAL MEDICAL GROUP, Jeffrey S. Doggett, Esq.,
                                                              17   shall remain as lead counsel of record. Mr. Bloodworth substitutes in place of current
                                                              18   counsel of record, Lauren Hardisty, Esq. who may be removed from the service list.
                                                              19

                                                              20         Respectfully submitted,
                                                              21

                                                              22         DATED: January 21, 2020                  LOTZ, DOGGETT & RAWERS, LLP
                                                              23

                                                              24                                                  By: /s/ Brian T. Bloodworth
                                                                                                                  JEFFREY S. DOGGETT, ESQ.
                                                              25                                                  BRIAN T. BLOODWORTH ESQ.
                                                                                                                  Attorneys for Defendants, KERI
                                                              26                                                  CAVALLO; MARK O’BRIEN; COAST
                                                                                                                  HOSPITALIST MEDICAL
                                                              27                                                  ASSOCIATES, INC.; and COAST
                                                                                                                  CORRECTIONAL MEDICAL GROUP
                                                              28
                                                                    NOTICE OF APPEARANCE                                                18-cv-02282-L-MSB
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                                                             Case 3:18-cv-02282-L-MSB Document 103 Filed 01/21/20 PageID.1576 Page 3 of 3



                                                               1                             CERTIFICATE OF SERVICE
                                                               2         I hereby certify that this document was filed and served this 21st day of January,
                                                               3   2020, using this Court’s CM/ECF filing system which will electronically transmit a
                                                               4   copy to all counsel of record.
                                                               5

                                                               6         DATED: January 21, 2020                   LOTZ, DOGGETT & RAWERS, LLP
                                                               7

                                                               8                                                   By: /s/ Brian T. Bloodworth
                                                                                                                   JEFFREY S. DOGGETT, ESQ.
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                                                                                                                   Attorneys for Defendants, KERI
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                                                                                                                   HOSPITALIST MEDICAL
                                                              11                                                   ASSOCIATES, INC.; and COAST
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